                              FILED ELECTRONICALLY

                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLORADO
                                  1:19-cv-484

TOM WAGNER, SUSAN BRZEZINSKI, MATTHEW DEBROSSE,
JOHN GLAZIER, JAMES HOWE, KEVIN MOFFIT, and
LAURA WALKER on behalf of themselves and all others
similarly situated,                                                      PLAINTIFFS,

v.

AIR METHODS CORPORATION, a Colorado corporation,           DEFENDANT.
______________________________________________________________________

                              COMPLAINT
______________________________________________________________________

      The plaintiffs, Tom Wagner (Wagner), Susan Brzezinski (Brzezinski), Matthew

DeBrosse (DeBrosse), John Glazier (Glazier), James Howe (Howe), Kevin Moffit

(Moffit), and Laura Walker (Walker), on behalf of themselves and all others similarly

situated, (collectively Plaintiffs) state the following complaint against defendant Air

Methods Corporation (AMC):

                                  INTRODUCTION

      1.     This action arises under the state overtime laws of Illinois, Indiana,

Maryland, Michigan, North Carolina, and Colorado which provide certain protections for

employees to, inter alia, ensure proper payment of wages.

                                      PARTIES

      2.     Plaintiff Wagner was employed in Michigan by AMC as a Flight Paramedic

from approximately 2006 until 2016.

      3.     Plaintiff Brzezinski was employed in Michigan by AMC as a Flight Nurse

and/or a Clinical Nurse Manager from approximately 2005 until 2015.
       4.    Plaintiff DeBrosse was employed in Michigan by AMC as a Flight

Paramedic from approximately 2008 until 2017.

       5.    Plaintiff Glazier was employed in Michigan by AMC as a Flight Paramedic

from approximately 2011 until 2016.

       6.    Plaintiff Howe was employed in Michigan by AMC as a Flight Nurse from

approximately 2006 until 2014.

       7.    Plaintiff Moffit was employed in Michigan by AMC as a Flight Nurse from

approximately 2006 until 2016.

       8.    Plaintiff Walker was employed in Michigan by AMC as a Flight Nurse from

approximately 2006 until 2017.

       9.    The aforementioned Plaintiffs are all residents of the State of Michigan.

       10.   AMC is a Colorado corporation duly authorized to conduct business within

the states of Illinois, Indiana, Maryland, Michigan, North Carolina, and Colorado.

       11.   AMC provides air medical services in every state within the United States.

       12.   During relevant times herein, Plaintiffs and others were employed by

AMC.

                                      JURISDICTION

       13.   Plaintiffs bring this complaint under federal diversity jurisdiction, 28 U.S.C.

1332, as the parties are completely diverse in citizenship and the amount in controversy

exceeds $75,000.




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                                    BACKGROUND FACTS
                                  RELEVANT TO ALL COUNTS

         14.     This is a representative action brought by Plaintiffs on behalf of

themselves and other similarly situated employees as follows:1

               a. Any non-exempt employees who are or were employed by AMC in North

                 Carolina and/or Indiana from March 22, 2015 until the time of trial;

               b. Any non-exempt employees who are or were employed by AMC in

                 Michigan, Maryland, and/or Illinois from March 22, 2014 until the time of

                 trial; and,

               c. Any non-exempt employees who are or were employed by AMC in

                 Colorado from March 22, 2011 until the time of trial.

         15.     Plaintiffs and other similarly situated employees who were employed by

AMC were not properly compensated for overtime hours worked in violation of relevant

laws including 7 Code of Colorado Regulations § 1103-1:4; Indiana Code § 22-2-2-4;

820 Illinois Compiled Statutes 105/4a; Maryland Code, Labor & Employment § 3-420;

Michigan Compiled Laws Annotated § 408.414a; and North Carolina General Statutes

Annotated § 95-25.4.

         16.     The defendant, AMC, operates an air medical transport service providing

services in every state inside the United States of America, at over three hundred (300)

locations, subject to various state overtime laws as recited above.




1   A civil action asserting a putative class action for each of these states was filed on March 22,
    2017. See Day v. Air Methods Corporation, No. CV 5: 17-183-DCR, 2017 WL 4781863 (E.D.
    Ky. Oct. 23, 2017). Pursuant to American Pipe & Constr. Co. v. Utah, 414 U.S. 538 (1974),
    and Crown, Cork & Seal Co. v. Parker, 462 U.S. 345, 350 (1983), the statute of limitations
    was tolled upon the filing of that Complaint.

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       17.    AMC employs flight paramedics and flight nurses at each of their

locations.

       18.    Flight paramedics and flight nurses are required to routinely work more

than forty (40) hours per week for AMC.

       19.    Flight paramedics and flight nurses are not compensated at one- and one-

half times their regular rate for all hours worked over forty (40) in a week.

       20.    AMC has a nationwide policy (excluding Kentucky) which provides that if a

flight paramedic or flight nurse received at least five hours of uninterrupted sleep, it

excludes an eight-hour sleep period from the overtime calculation.

                      REPRESENTATIVE ACTION ALLEGATIONS

       21.    Plaintiffs bring this action as a representative action on behalf of

themselves and on behalf of all similarly situated employees currently and formerly

employed by AMC as described above.

       22.    Plaintiffs and all other Flight Paramedics and Flight Nurses employed by

AMC who performed work in Illinois, Indiana, Maryland, Michigan, North Carolina, and

Colorado are similarly situated employees because, inter alia, they were all subjected to

the same unlawful pay practices, specifically the denial of overtime pay for work over

forty (40) hours per week.




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                                    COUNT ONE:
                       VIOLATIONS OF STATE WAGE & HOUR LAWS

         23.    Plaintiffs adopts by reference all preceding and subsequent averments as

fully restated herein.

         24.    Laws including Code of Colorado Regulations § 1103-1:4; Indiana Code §

22-2-2-4; 820 Illinois Compiled Statutes 105/4a; Maryland Code, Labor & Employment §

3-420; Michigan Compiled Laws Annotated § 408.414a; and North Carolina General

Statutes Annotated § 95-25.4 substantially set forth state wage and hour laws intended

to protect employees and ensure that they are justly compensated.

         25.    Pursuant to laws including 7 Code of Colorado Regulations § 1103-1:4;

Indiana Code § 22-2-2-4; 820 Illinois Compiled Statutes 105/4a; Maryland Code, Labor

& Employment § 3-420; Michigan Compiled Laws Annotated § 408.414a; and North

Carolina General Statutes Annotated § 95-25.4, AMC was required to provide

compensation at one-and-one-half times their regular rate for all hours worked over forty

(40) in a week.

         26.    AMC failed to provide proper overtime compensation to its employees,

ignoring the requirements of the above recited laws.

         27.    Plaintiffs and all other similarly situated individuals were not exempt from

the overtime requirements imposed by the above cited state overtime laws.2

         28.    AMC’s failure to pay the plaintiffs and putative class members properly for

all hours worked over forty (40) in a week at one-and-one-half times the individual’s rate

of pay, constitutes a clear violation of the above cited state overtime laws.


2   See, e.g., Day v. Air Methods Corporation, No. CV 5: 17-183-DCR, 2017 WL 4781863 (E.D.
    Ky. Oct. 23, 2017), where the Eastern District of Kentucky held that an air medical ambulance
    service was required to follow the provisions of Kentucky Wage and Hour Act.

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       29.    Such action constitutes a failure to compensate Plaintiffs for their overtime

hours which proximately caused them to suffer economic harm.

       30.    Pursuant to Indiana Code § 22-2-5-2, Plaintiffs are entitled to

compensatory damages, an additional amount equal to two times the amount of wages

due, attorneys’ fees, pre-judgment and post-judgment interest, and an award of punitive

damages against AMC.

       31.    Pursuant to 820 Illinois Compiled Statute § 105/12(a), Plaintiffs are

entitled to compensatory damages, an additional two percent (2%) of amount of wages

due per month that the wage is unpaid, attorneys’ fees, pre-judgment and post-

judgment interest, and an award of punitive damages against AMC.

       32.    Pursuant to Maryland Code, Labor & Employment § 3-420; Michigan

Compiled Laws Annotated § 408.419; and North Carolina General Statutes Annotated §

95-25.22, Plaintiffs are entitled to compensatory damages, an additional amount equal

to the amount of wages due, attorneys’ fees, and pre-judgment and post-judgment

interest against AMC.

       33.    Pursuant to 7 Code of Colorado Regulations § 1103-1:18, Plaintiffs are

entitled to compensatory damages, attorneys’ fees, and pre-judgment and post-

judgment interest against AMC.

                                    COUNT TWO:
                                 UNJUST ENRICHMENT

       34.    Plaintiffs adopt by reference all preceding and subsequent averments as

fully restated herein.

       35.    Plaintiffs and all other similarly situated individuals are entitled to the

correct payment of wages.

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        36.    AMC has been unjustly enriched by using Plaintiffs’ services without

providing the required compensation earned by and owed to Plaintiffs.

        37.    As a direct and proximate result of AMC’s unjust enrichment, Plaintiffs

have been damaged, in large part by fraud as described herein, in an amount that

exceeds the jurisdictional minimum of this court.

        WHEREFORE, Plaintiffs respectfully request that this court:

        A. Certify this action as a class action under Federal Rule of Civil Procedure 23;

        B. Appoint the undersigned as class counsel;

        C. Enter judgment against AMC, granting Plaintiffs compensatory and punitive

damages to the fullest extent of the law;

        D. Award costs herein expended including an award of reasonable attorney’s

fees;

        E. Trial by jury; and,

        F. Provide such other legal and equitable relief to which they may be entitled.

                                                 Respectfully Submitted,

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        *MOTION TO BE ADMITTED ARE FORTHCOMING




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